         Case 1:23-cv-03677-APM Document 38 Filed 07/12/24 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 HELENA WORLD CHRONICLE, LLC and
 EMMERICH NEWSPAPERS, INC.

                              Plaintiffs,           Case No. 1:23-cv-03677

 v.                                                 HON. AMIT P. MEHTA

 GOOGLE LLC and ALPHABET INC.,

                              Defendants.



        DEFENDANTS’ MOTION TO DISMISS THE AMENDED COMPLAINT

       Pursuant to Rules 12(b)(1) and 12(b)(6) of the Federal Rules of Civil Procedure,

Defendants Google LLC and Alphabet Inc. respectfully move this Court to dismiss Plaintiff’s

Amended Complaint (ECF No. 27).

       Defendants request oral argument.



Dated: July 12, 2024                 Respectfully submitted,

                                    WILLIAMS & CONNOLLY LLP

                                     By: /s/ John E. Schmidtlein
                                     John E. Schmidtlein (D.C. Bar No. 441261)
                                     Kenneth C. Smurzynski (D.C. Bar No. 442131)
                                     Graham Safty (D.C. Bar No. 1033312)
                                     Youlin Yuan (D.C. Bar No. 1613542)
                                     680 Maine Avenue, SW
                                     Washington, DC 20024
                                     Tel: 202-434-5000
                                     jschmidtlein@wc.com
                                     ksmurzynski@wc.com
                                     gsafty@wc.com
                                     yyuan@wc.com

                                     Counsel for Defendants Google LLC & Alphabet Inc.
